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lN THE UN|TED STATES DlSTR|CT COURT

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w.o. or= rN, mr-;Mr>r~ris`
uNlTED sTATES OF AMER|CA,

Plaintiff,
VS. CF{. NO. 05-20203-B
KATHFtYN BOWERS, BARRY MYERS,

Defendants.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PEFt|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 22, 2005. At that time counsel for
the defendant requested a continuance of the July 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Thursdav, Julv 21, 2005. at 8:45 a.m., in Courtroom 1, 11th F|oor of the
Federai Bui|ding, l\/lemphis, TN.

The period from June 22, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this 2 day of une, 2005.

/M\

J. A EL BREEN
N|TE STATES D|STF{|CT JUDGE

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 20 in
case 2:05-CR-20203 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

